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 7                              UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF ARIZONA
 9 Arizona Broadcasters Association, et al.;       Case No.: _______
10
                  Plaintiffs,
11                                               [PROPOSED] ORDER SETTING
               vs.                               EXPEDITED HEARING ON
12
                                                 PLAINTIFFS’ MOTION FOR
13 Mark  Brnovich, in  his official capacity  as PRELIMINARY INJUNCTION
   Attorney General for the State of Arizona, et
14 al.;
15
                  Defendants.
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           Having reviewed Plaintiffs’ request for an expedited hearing on their Motion for
17
     Preliminary Injunction and any response thereto, the Court hereby ORDERS that the
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     request is GRANTED.
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           The Court sets Plaintiff’s Motion for Preliminary Injunction for a hearing at _____
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     on __________, 2022, and sets the briefing schedule as follows: Defendants’ opposition
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     to the Motion is due on ______________, 2022, and Plaintiffs’ reply is due on
22
     ____________, 2022.
23
           SO ORDERED.
24
     DATED this _____ day of __________, 2022.
25
26
                                                    _____________________________
27
                                                    United States District Judge
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